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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         :

                    v.                           :   CASE NO. DLB-21-348

          Brian McQuade                        :
                                         ...oooOooo...

                                              LINE

Madam Clerk:

       Please enter the appearance of Jessica C. Collins as co-counsel for the government for all

purposes in the above-captioned case.

                                              Respectfully submitted,

                                              Erek L. Barron
                                              United States Attorney



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 3/28/2023                              By:               /s/
    DATE                                      Jessica C. Collins
                                              Assistant United States Attorney
